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ROXBURY CORRECTIONAL INSTITUTION
LEv7OL ROXBURY ROAD

 

HAGERSTOWN, MARYLAND 21746 —~——_FiLeD
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'O: CLERK OF THE COURT
UNITED STATES DISTRICT COURT MAR 30 2016

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MOTION FOR APPOINTMENT OF COUNSEL BY

The defendant above is visually impaired (blind) and is serving a
sentence at the Roxbury Correctional Institution in the State of
Maryland. Due to .the defendant's impairment, he is requesting the

following from the Federal District Court Judge:

i
1. Appointment of Counsel under 28 U.S.C. 1915, 1975(&)(2), and

where indigent claimant presents exceptional circumstances (See Cook

v. Bounds, 518 F.2d 779 at 779 (4th Cir. 1975);also Branch v. Cole,
686 F.2d 264 at 266 (Sth Cir. 1982; and Whisenant v. Yuam, 739 F.2d

160 at 163 (4th Cir. 1984)

A. The defendant is in need of counsel for assistance in filing

a Federal Civil Rights challenge (42 U.S.C. §1983) due to the fact

that Roxbury Correctional Institution does not provide the tools
necessary to protect their rights to obtain relief the vision

impaired (blind) inmates desperately need.

B. I am an inmate writing this motion for the defendant above
because ‘the institution does not provide the vision-impaired’ (blind)

inmates with the material to do it themselves. I have no legal

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experience and the Correctional Officers may cause me physical harm
if they find out I'm helping the vision impaired (blind) inmates. I
don't know what to do. There has been many "Administrative Remedies"
filed and ignored. Over eight (8) years they have known vision-
impaired inmates (blind) have stressed their complaints and
Concerns, yet this Institution has not added to or made changes so
that the vision-impaired (blind) inmates can have the equipment they
need to have access to the courts. I do know vision-impaired inmates
(blind) have a right to file certain petitions with the courts:
Criminal Appeals (including Post Conviction petitions and Habeas

Corpus petitions and appeals) and challenges to conditions of

confinement.

Cc. INMATES ARE FILING PETITIONS POR THE VISION-IMPAIRED (blind)
inmates, and we are not lawyers and I have only a ninth (9th) grade
education and this Institution does not provide any assistance or
material for the vision-impaired (blind) inmates to have access to
the courts. Many of the vision-impaired (blind) inmates have had
their grievances {post convictions, habeas corpus ana appeals)
written and filed by other inmates who are not qualified to do so
out of necessity. Other vision-impaired {blind) inmates have had
many grievances (post conviction appeals and habeas corpus
petitions) dismissed due to other inmates filing on their behalf (by
the other inmate's mistakes). This can be misleading to the vision-
impaired (blind) inmate and misleading to the courts as well as
violation of the vision-impaired inmate's First Amendment Right

(Lewis v. Casey, 518 U.S. 343 at 355, 116 S.Ct. 2174 (1996); Hudson

(2)

 

 
 

 

 

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v. Paimer, 468 U.S. 517 at 523, 104 S.Ct. 3194 (1984).

'
The vision-impaired (plind) inmate should not have to rely upon
other inmates to supervise or direct them when they need legal
assistance in filing any legal filing. This may hinder cases in the
local courts as well as Federal courts from receiving fair hearings
in the courts of law. This is also a direct violation of this

Institution's rules and regulations (DCD 200-1 V.(A})(4).

Below, the Court will find a list of complaints that may warrant

appointment of counsel:

lL. Failure to provide material and/or assistance for the
vision-impaired (blind) inmates to .file an "Informal Inmate

Complaint Form", Appendix 2 to DCD 185-002; and resubmissions,

Appendix 3 to BCD 185-002. -

2. Failure to provide material and/or assistance for the

vision-impaired (blind) inmates to file motions in the State courts,

State courts of appeal, Federal courts and Federal courts of appeal.

2. Failure to provide material and/or assistance for the
vision-impaired (blind) inmates to access legal services - DCDs 195-

1, 200-2, 135-2, and DCD 200-1 v(G).

4. Pailure to provide material and/or assistance for the

vision-impaired (blind) inmates to have equal access with ali

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inmates to join programs, services and activities without regard te
race, religion, national origin, sex, disability or political

beliefs under DCD 266-1 V(B) Nondiscrimination.

5. Failure to provide material for the vislon-impaired inmates

concerning (disabled) inmate rights per DCD 200-1 VI(B)({c} 1-2.

6. Failure to provide safety and security within this
Institution by double-celling vision-impaired (blind) inmates
Knowing that they cannot protect themselves against violent inmates

(Harris v. Angelina County, 31 F.3d 331 at 334-336 (5th Cir. 1994}).

7. Failure to provide safety and security within this
Institution by not providing material for the vision-impaired
(blind) inmates to send or receive mail in a legal manner by having
other inmates read and write personal and legal mail for the vision-
impaired (blind) inmates which is not consistent with Division of
Correction responsibility to not put vision-impaired (blind)
inmate's family members in danger, as well as the vision~impaired

(blind) inmates themselves. This is dangerous because family

addresses are exposed and legal mail may be misleading or expose

their crime.

8. Failure to provide a Division of Correction Inmate Handbook
on audio, detailing inmate rights for the disabled (vision-impaired

(olind}) inmates while they are being housed in this Institution per

pcp 200-1 Vl (B){c} 1-2.

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Vision-impaired (blind) inmates in the Roxbury Correctional
Institution have never had the material or assistance to file
Administrative Remedies, Grievances, post-trial petitions or appeals
on their own. There are some vision-impaired (blind) inmates who
have had other inmates file their Administrative Remedies,
Grievances, petitions or appeals, and the inmate could not finish
the process due to Correctional Officers threatening to move us into

other buildings, which may cause us to get assaulted or worse. That

is why many of the vision-impaired (blind) inmates are unable to
start or finish the Administrative Remedy process. Some of the
vision-impaired (blind) inmates. have on record where they have tried

to get assistance in filing important papers which they couldn't
finish on their own because of their disability and the prison's

Failure to provide the vision~impaired (blind) inmates with the

means to do so on their own. (See Foulk v. Charrier, 262 F.3d 687 at

689 (8th Cir. 2001)).

Please take into consideration all of these issues I have

provided in this "Motion for Appointment of Counsel" under 28 U.S.C.

1915, 1975 (E)(I).

I am a vision-impaired (olind) inmate who agrees with this motion

and seeks counsel by this motion for this Court.

Respectfully submitted,

Sohn Names

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